         Case 2:21-cv-01630-SMM Document 15 Filed 03/28/22 Page 1 of 7




                IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF ARIZONA

In re:                                     Case No.: CV-21-01630-PHX-
                                           SMM
Charles Michael Colburn,
                                           Bankr. No.: 2:21-bk-05407-MCW
                   Debtor.
                                           BAP No. AZ-21-01185
Charles Michael Colburn,

                   Appellant,

vs.

David M. Reaves; MedMen Enterprises,
Inc.,

                   Appellees.


          APPELLEE MEDMEN ENTERPRISES, INC.’S
SECOND REQUEST FOR JUDICIAL NOTICE PURSUANT TO FEDERAL
               RULE OF EVIDENCE RULE 201

                                      Steven D. Jerome (#018420)
                                      Emily Gildar Wagner (#028811)
                                      James G. Florentine (#034058)
                                      SNELL & WILMER L.L.P.
                                      One Arizona Center
                                      400 E. Van Buren St.
                                      Phoenix, Arizona 85004-2202
                                      Telephone: (602) 382-6000
                                      Facsimile: (602) 382-6070
                                      Email:      sjerome@swlaw.com
                                                  ewagner@swlaw.com
                                                  jflorentine@swlaw.com
                                      Attorneys for MedMen Enterprises, Inc.
        Case 2:21-cv-01630-SMM Document 15 Filed 03/28/22 Page 2 of 7




       Appellee MedMen Enterprises, Inc. (“MedMen”) respectfully requests that

the Court take judicial notice of public court documents in support of Appellee

MedMen Enterprises, Inc.’s Response Brief filed on November 2, 2021 (Dkt. No.

11).

                         Brief Procedural Background

       1.   On September 7, 2021, the Debtor/Appellant Charles Michael

Colburn (“Colburn”) filed an Emergency Motion for Indicative Ruling Pursuant to

FRBP 8008 and Motion to Stay Proceedings Pending Dismissal seeking that: (i) if

this Court remands this appeal concerning whether the underlying bankruptcy case

should have been dismissed rather than converted to a Chapter 7 proceeding, the

United States Bankruptcy Court for the District of Arizona (“Bankruptcy Court”)

will vacate the order converting the bankruptcy case to a Chapter 7 proceeding and

dismiss the bankruptcy case instead, and (ii) stay the bankruptcy case in the

meantime (as amended, collectively, “Motion,” Bankr. Dkt. Nos. 124 and 143).

       2.   On September 16, 2021, MedMen filed a Response and Objection to

(I) Emergency Motion for Indicative Ruling Pursuant to FRBP 8008 and Motion to

Stay Proceedings Pending Dismissal, and (II) Amendment and Supplement to

Emergency Motion for Indicative Ruling Pursuant to FRBP 8008 and Motion to

Stay Proceedings Pending Dismissal (“Response,” Bankr. Dkt. No. 145).




                                        1
        Case 2:21-cv-01630-SMM Document 15 Filed 03/28/22 Page 3 of 7




      3.     On March 1, 2022,1 the Bankruptcy Court held a hearing on the

Motion. At the hearing, after lengthy argument by both Colburn’s counsel and

MedMen’s counsel, the Bankruptcy Court made a detailed oral ruling, denying the

Motion on the merits and finding that Colburn had not met the elements for a stay

pending appeal (Bankr. Dkt. No. 348).

      4.     On March 25, 2022, the Bankruptcy Court entered Findings of Fact

and Conclusions of Law for Order Denying Emergency Motion for Indicative

Ruling Pursuant to FRBP 8008 and Motion to Stay Proceedings Pending

Dismissal (“Findings and Conclusions,” Bankr. Dkt. No. 371). As the Findings

and Conclusions only very recently came into existence (and could not have been

included in the record before) and is highly relevant to this appeal (whether the

bankruptcy case should have been, or should be, dismissed), MedMen seeks

judicial notice of this document.

      5.     On March 25, 2022, the Bankruptcy Court also entered an Order

Denying Emergency Motion for Indicative Ruling Pursuant to FRBP 8008 and

Motion to Stay Proceedings Pending Dismissal (“Order,” Bankr. Dkt. No. 373).

As the Order only very recently came into existence (and could not have been

1
      As detailed in footnote 1 of the Findings and Conclusions (defined below),
Colburn “failed to file essential case documents despite express Code and Rule
requirements” and the Bankruptcy Court’s orders, and the Bankruptcy Court
continued the hearing on the Motion “[b]elieving that the required documents and
information would soon be filed.” “[E]ven though the directive to complete the
requirement documents has not been fully accomplished,” the Bankruptcy Court
heard the Motion and ruled on it “to finally clear its docket.”

                                        2
        Case 2:21-cv-01630-SMM Document 15 Filed 03/28/22 Page 4 of 7




included in the record before) and is highly relevant to this appeal (whether the

bankruptcy case should have been, or should be, dismissed), MedMen seeks

judicial notice of this document.

                             Legal Basis for Requested Relief

      Rule 201(b) of the Federal Rules of Evidence (“FRE”) provides that a court

may take judicial notice of facts “not subject to reasonable dispute because it

[either]: (1) is generally known within the territorial jurisdiction of the trial court;

or (2) can be accurately and readily determined [by resort to] sources whose

accuracy cannot reasonably be questioned.” FED. R. EVID. 201(b). Under FRE

201, “[a] court may take judicial notice of ‘matters of public record.” Lee v. City

of Los Angeles, 250 F.3d 668, 689 (9th Cir. 2001) (quoting Mack v. South Bay

Beer Distrib., 798 F.2d 1279, 1282 (9th Cir. 1986)).

                                      Argument

      MedMen respectfully requests that the Court take judicial notice of two

documents publicly available on the CM/ECF platform from the underlying

bankruptcy case. Specifically, MedMen requests that the Court take judicial notice

of the below documents for the following reasons, which are attached hereto:

      1.     Findings of Fact and Conclusions of Law for Order Denying

             Emergency Motion for Indicative Ruling Pursuant to FRBP 8008 and

             Motion to Stay Proceedings Pending Dismissal entered at Bankr. Dkt.



                                           3
        Case 2:21-cv-01630-SMM Document 15 Filed 03/28/22 Page 5 of 7




             No. 371 on March 25, 2022. This document indicates that Colburn

             moved the Bankruptcy Court for an indicative ruling on the issue

             before this Court – whether his bankruptcy case should have been (or

             should be) dismissed rather than converted to Chapter 7 – and after

             full briefing and a hearing, the Bankruptcy Court denied all of the

             relief requested by Colburn, as enumerated in detailed findings of fact

             and conclusions of law.

      2.     Order Denying Emergency Motion for Indicative Ruling Pursuant to

             FRBP 8008 and Motion to Stay Proceedings Pending Dismissal

             entered at Bankr. Dkt. No. 373 on March 25, 2022. This document

             also indicates that Colburn moved the Bankruptcy Court for an

             indicative ruling on the issue before this Court – whether his

             bankruptcy case should have been (or should be) dismissed rather than

             converted to Chapter 7 – and after full briefing and a hearing, the

             Bankruptcy Court denied all of the relief requested by Colburn, as

             formalized in a written and signed order.

                                       Conclusion

      For the foregoing reasons, MedMen respectfully requests that the Court take

judicial notice of the documents that are of public record in the bankruptcy case.




                                          4
 Case 2:21-cv-01630-SMM Document 15 Filed 03/28/22 Page 6 of 7




DATED this 28th day of March, 2022.

                       SNELL & WILMER L.L.P.

                    By: /s/ Steven D. Jerome
                        Steven D. Jerome
                        Emily Gildar Wagner
                        James G. Florentine
                        Attorneys for MedMen Enterprises, Inc.




                               5
           Case 2:21-cv-01630-SMM Document 15 Filed 03/28/22 Page 7 of 7




                          CERTIFICATE OF SERVICE

         I hereby certify that on March 28, 2022, I electronically transmitted the

attached Appellee MedMen Enterprises, Inc.’s Second Request for Judicial Notice

Pursuant to Federal Rule of Evidence Rule 201 to the Clerk’s Office using the

CM/ECF System for filing and delivery to all registered CM/ECF recipients and

also sent a courtesy copy via email to the following:

Janel M. Glynn
The Burgess Law Group
3131 E. Camelback Road, Ste. 224
Phoenix, AZ 85016
janel@theburgesslawgroup.com

David M. Reaves
Reaves Law Group
2999 N. 44th Street, Ste. 515
Phoenix, AZ 85018
dreaves@reaves-law.com

         I hereby further certify that on March 28, 2022, a bound copy of Appellee

MedMen Enterprises, Inc.’s Second Request for Judicial Notice Pursuant to

Federal Rule of Evidence Rule 201 was hand-delivered to:

Honorable Stephen M. McNamee
United States District Court
Sandra Day O’Connor U.S. Courthouse, Ste. 423
401 W. Washington St., SPC 82
Phoenix, AZ 85003-2161

/s/ Paula Shanahan
4854-5336-0153




                                         6
